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                    EXHIBIT L
Case 6:20-cv-00831-RBD-GJK Document 110-12 Filed 10/01/20 Page 2 of 3 PageID 19122




                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

    IN RE: BOSTON SCIENTIFIC CORP.
    PELVIC                                                     Master File No. 2:12-MD-02326
    REPAIR SYSTEM PRODUCTS LIABILITY                                   MDL No. 2326
    LITIGATION
    __________________________________
    THIS DOCUMENT RELATES TO:                                     JOSEPH R. GOODWIN
                                                                  U.S. DISTRICT JUDGE
    Raeann Bayless v. Boston Scientific Corp.,
    Coloplast Corp.

    Case No. 2:16-cv-01311


                             PLAINTIFFS’ DESIGNATION AND
                     DISCLOSURE OF CASE-SPECIFIC EXPERT WITNESSES

          Pursuant to Pretrial Order (PTO) # 187, Rule 26 (a)(2) of the Federal Rules of Civil Procedure,

   Plaintiffs in the above-captioned civil action (“Plaintiffs”) submit the following Designation and

   Disclosure of Case-Specific Expert Witness and persons who may provide expert testimony specific

   to Plaintiffs’ case pursuant to Rule 702 of the Federal Rules of Evidence.

                                  RETAINED EXPERT WITNESSES

      1. Dr. Jimmy Mays
         University of Tennessee at Knoxville
         655 Buehler Hall
         Knoxville, TN 37996

      2. Dr. Jerry Blaivas
         445 East 77th Street
         New York, NY 10075

      3. Dr. Scott Guelcher
         Polymer and Chemical Technologies, LLC
         1008 Caldwell Avenue
         Nashville, TN 37204

      4. Dr. Michael Thomas Margolis
         Bay Area Pelvic Surgery
         1820 Ogden Dr.
         Burlingame, California 94010
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      5. Dr. Bruce Rosenzweig
         Rush University Professional Building
         1725 West Harrison Street, Suite 358
         Chicago, IL 60612


                                NON-RETAINED EXPERT WITNESSES


                NAME                             ADDRESS                         SPECIALITY
        Dr. Kathy Y. Jones             2501 N. Orange Ave. Suite 309          Urogynecology
                                       Orlando, FL 32804

          A General Designation and Disclosure has been or is being served by and on behalf of the wave

   4 cases for general expert opinions. In the event that any of the general expert(s) identified above

   is/are unavailable for trial in this case, Plaintiffs reserve the right to elicit testimony, either through

   direct examination or cross-examination, of other of the general witnesses designated or identified by

   Plaintiffs. In no event, however, will Plaintiffs’ retained experts at trial exceed five (5) experts without

   leave of Court for good cause shown. Plaintiffs further reserve the right, as allowed by Rule 26(e) of

   the Federal Rules of Civil Procedure, to supplement this Designation and Disclosure of Expert

   Witnesses through the discovery process upon receiving additional discovery including, but not

   limited to, expert depositions, fact depositions, exhibits introduced in depositions, documents

   produced, and any supplemental expert disclosures by any party.

          This 13 day of July, 2018.

                                                            By: /s/ Jeffrey L. Haberman
                                                            Jeffrey L. Haberman
                                                            SCHLESINGER LAW OFFICES, P.A.
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                                                            Ft. Lauderdale, FL 33316
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                                                            ATTORNEY FOR PLAINTIFF




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